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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PRESS AND JOURNAL, INC.,                     :   CIVIL ACTION NO. 1:18-CV-2064
                                             :
                    Plaintiff                :   (Chief Judge Conner)
                                             :
             v.                              :
                                             :
BOROUGH OF MIDDLETOWN,                       :
                                             :
                    Defendant                :

                                  MEMORANDUM

      Plaintiff Press and Journal, Inc. (“plaintiff”) filed this action alleging First

Amendment violations by defendant Borough of Middletown (the “Borough”). The

Borough moved to dismiss plaintiff’s claims pursuant to Federal Rule of Civil

Procedure 12(b). (Doc. 12). We will deny the Borough’s motion to the extent it is

grounded in Rule 12(b)(6).

I.    Factual Background & Procedural History

      Plaintiff is an independent member of the private press that publishes the

Middletown Press & Journal (the “Journal”), a newspaper of general circulation in

Dauphin County, Pennsylvania. (Doc. 1 ¶¶ 1, 11). According to plaintiff, for over 100

years the Borough has advertised in the Journal, placing notices for meetings of

Borough council and the local zoning hearing board, advertisements for public

events like hydrant flushing and leaf collection, and “other notices required by law

to be published in a newspaper of general circulation.” (Id. ¶¶ 8-9, 13). In the ten-

year period from June 2008 to May 2018, the Borough allegedly ran 207 such legal

advertisements in the Journal. (Id. ¶ 12).
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        The Borough “abruptly” ended all advertising with the Journal in June 2018.

(Id. ¶ 14). When plaintiff inquired why the Borough was no longer advertising in

the Journal, the Borough responded with a letter, signed by the mayor and six of

the Borough’s seven council members, dated July 17, 2018 (the “July 2018 Letter”).

(Id. ¶¶ 15-16, 23). The July 2018 Letter provided the following explanation for the

Borough ending its advertising relationship with plaintiff:

                This decision was arrived at through discussion of a
                number topics that we feel have been detrimental to the
                efforts and initiatives of the Borough, including articles
                and editorials published in the Press and Journal over the
                past year. The topics covered include the Elks Theater,
                National Night Out, Police discipline, local campaign
                coverage and the Press and Journal’s attempts to help
                finance select campaigns, Borough ordinances affecting
                student housing, and the Borough’s litigation against
                Suez and McNees, Wallace & Nurick. Through these
                disheartening and demoralizing instances of distasteful
                sensationalism, misrepresentation of information and
                statements, unfounded speculation, questionable
                sourcing and observable bias, we feel that the Press and
                Journal is not entirely committed to presenting the news
                of our community with an acceptable amount of
                impartiality or accuracy of facts.

(Doc. 1-2). The letter further stated that “[s]hould the Press and Journal

demonstrate reliability to professionally and responsibly report on actions and

statements of Borough Council and Management, as well critiquing us from a

founded and balanced position, we will be happy to patron your newspaper again.” 1

(Id.)


        1
       Given the centrality of the July 2018 Letter in this litigation, the court has
reproduced the foregoing portions of the letter without amendment to correct
typographical or grammatical errors.


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      Before commencing litigation, plaintiff’s legal representative attended a

public Borough council meeting in September 2018. (Doc. 1 ¶ 34). At that meeting,

plaintiff’s attorney read from a letter addressed to the mayor and council members

indicating that plaintiff believed the Borough’s actions were unconstitutional

infringements of its First Amendment rights. (Id. ¶ 35). The letter requested that

the Borough “correct the unconstitutional action” it had taken and “enter into talks

to remediate the [Borough’s] wrongdoing.” (Doc. 1-3 at 3). Plaintiff’s attorney then

provided the mayor and all council members present with a copy of the letter,

which the mayor purportedly “ripped . . . in half and threw the pieces on the

Council table.” (Doc. 1 ¶¶ 37-38).

      The following month, plaintiff filed the instant lawsuit seeking injunctive

relief under 42 U.S.C. § 1983. Plaintiff accuses the Borough of the following

violations of the First Amendment to the United States Constitution: viewpoint

discrimination in contravention of the right to free speech and free press (Count I);

content discrimination in violation of the right to free speech and free press (Count

II); and violation of the right to freedom of association (Count III). The Borough

moved to dismiss the complaint pursuant to Federal Rule of Civil Procedure 12(b),

claiming lack of subject matter jurisdiction and failure to state a claim upon which

relief can be granted. Due to outstanding factual issues underlying the Rule

12(b)(1) challenge, the court instructed the parties to complete their briefing only

with respect to the Rule 12(b)(6) matter, which is now ripe for disposition.




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II.    Legal Standard

       Rule 12(b)(6) of the Federal Rules of Civil Procedure provides for the

dismissal of complaints that fail to state a claim upon which relief can be granted.

FED. R. CIV. P. 12(b)(6). When ruling on a motion to dismiss under Rule 12(b)(6), the

court must “accept all factual allegations as true, construe the complaint in the light

most favorable to the plaintiff, and determine whether, under any reasonable

reading of the complaint, the plaintiff may be entitled to relief.” Phillips v. County

of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008) (quoting Pinker v. Roche Holdings,

Ltd., 292 F.3d 361, 374 n.7 (3d Cir. 2002)). In addition to reviewing the facts

contained in the complaint, the court may also consider “exhibits attached to the

complaint, matters of public record, as well as undisputedly authentic documents”

attached to a defendant’s motion to dismiss if the plaintiff’s claims are based upon

these documents. Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir. 2010) (citing

Pension Benefit Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d

Cir. 1993)).

       Federal notice and pleading rules require the complaint to provide “the

defendant fair notice of what the . . . claim is and the grounds upon which it rests.”

Phillips, 515 F.3d at 232 (alteration in original) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555 (2007)). To test the sufficiency of the complaint, the court conducts

a three-step inquiry. See Santiago v. Warminster Township, 629 F.3d 121, 130-31

(3d Cir. 2010). In the first step, “the court must ‘tak[e] note of the elements a

plaintiff must plead to state a claim.’” Id. at 130 (alteration in original) (quoting




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Ashcroft v. Iqbal, 556 U.S. 662, 675 (2009)). Next, the factual and legal elements of a

claim must be separated; well-pleaded facts are accepted as true, while mere legal

conclusions may be disregarded. Id. at 131-32; see Fowler v. UPMC Shadyside, 578

F.3d 203, 210-11 (3d Cir. 2009). Once the court isolates the well-pleaded factual

allegations, it must determine whether they are sufficient to show a “plausible claim

for relief.” Iqbal, 556 U.S. at 679 (citing Twombly, 550 U.S. at 556); Twombly, 550

U.S. at 556. A claim is facially plausible when the plaintiff pleads facts “that allow[]

the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678.

III.   Discussion

       Section 1983 of Title 42 of the United States Code creates a private cause of

action to redress constitutional wrongs committed by state officials. 42 U.S.C.

§ 1983. The statute is not a source of substantive rights, but serves as a mechanism

for vindicating rights otherwise protected by federal law. Gonzaga Univ. v. Doe, 536

U.S. 273, 284-85 (2002); Kneipp v. Tedder, 95 F.3d 1199, 1204 (3d Cir. 1996). To

establish a Section 1983 claim, plaintiffs must prove a deprivation of a “right

secured by the Constitution and the laws of the United States . . . by a person acting

under color of state law.” Kneipp, 95 F.3d at 1204 (quoting Mark v. Borough of

Hatboro, 51 F.3d 1137, 1141 (3d Cir. 1995)).

       Pursuant to Section 1983, plaintiff seeks to enjoin permanently certain

actions that it claims amount to unconstitutional infringements of its First

Amendment rights to free speech, free press, and freedom of association. The




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Borough’s only challenge under Rule 12(b)(6) is that plaintiff—an independent

contractor—lacks the requisite “pre-existing commercial relationship” necessary to

maintain a First Amendment claim against the Borough.

      Independent contractors who provide services to governmental entities enjoy

certain protections under the First Amendment. O’Hare Truck Serv., Inc. v. City of

Northlake, 518 U.S. 712, 725 (1996); Board of Cty. Comm’rs v. Umbehr, 518 U.S. 668,

673, 684-85 (1996). The extent of those protections, however, is limited. In Umbehr,

the Supreme Court examined whether “the First Amendment protects independent

contractors from the termination [or non-renewal] of at-will government contracts

in retaliation for their exercise of freedom of speech.” Umbehr, 518 U.S. at 671.

The Court held that such protection exists but cabined its holding to independent

contractors with a “pre-existing commercial relationship with the government[.]”

Id. at 685-86. The Umbehr Court expressly left open the question of whether

contractors who were merely “bidders or applicants for new government contracts”

and thus unable to rely on a preexisting relationship can similarly avail themselves

of the First Amendment’s safeguards. Id. at 685.

      In a related case decided the same day as Umbehr, the Supreme Court

considered whether First Amendment rights held by government employees also

applied to an “independent contractor, who, in retaliation for refusing to comply

with demands for political support, . . . is removed from an official list of contractors

authorized to perform public services.” O’Hare, 518 U.S. at 714. In O’Hare, the

local government allegedly removed an independent contractor, who had provided




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towing services to the municipality for many years, from an official rotation list of

towing-service companies in retaliation for the contractor’s exercise of political

association. Id. at 715-16. The Court held that these allegations stated an

actionable claim for violation of the contractor’s First Amendment rights. Id. at 720.

      The gravamen of the Borough’s argument is that plaintiff does not stand in a

position similar to the plaintiffs in Umbehr and O’Hare and thus cannot pursue a

First Amendment claim. According to the Borough, there must be a contract or

some guarantee of “future business” to establish a preexisting commercial

relationship. (See Doc. 25 at 3-9). The Borough contends that plaintiff had no

“actual contract” that was terminated like in Umbehr, nor was plaintiff on an

“officially designated rotation list” that would “assure[] additional government

work” as in O’Hare. (Id. at 3). Plaintiff instead only had “discrete, individual

transactions” with “no promise of future purchases,” which the Borough maintains

is insufficient to qualify for First Amendment protection. (Id. at 6).

      We find the Borough’s interpretation of Umbehr and O’Hare too narrow.

The critical distinction set out in Umbehr was the independent contractor who had

a “pre-existing commercial relationship” with a governmental entity versus mere

“bidders or applicants for new government contracts” who had no such prior

relationship. “Pre-existing commercial relationship,” however, does not require

factual circumstances identical to Umbehr or O’Hare, or, as the Borough argues,

some guarantee of future purchases. We believe the concept is broad enough to

include the instant situation, to wit: an independent contractor which has a




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longstanding, ongoing business relationship with a governmental entity for services

of a regular and similar nature, and, “based on that longstanding practice, had

reason to believe [it] would continue.” See O’Hare, 518 U.S. at 721.

       The Third Circuit Court of Appeals’ opinion in McClintock v. Eichelberger,

169 F.3d 812 (3d Cir. 1999), reinforces our decision. There, the court reviewed

whether two independent contractors had preexisting commercial relationships

with a local government such that they could maintain a First Amendment

retaliation claim for being denied a contract on the basis of political association. Id.

at 816-17. The Third Circuit found that the independent contractors did not have

the requisite “pre-existing commercial relationship” with the governmental entity.

Id. at 816.

       In its rationale, the court first noted that in Umbehr and O’Hare, the

retaliatory act “terminated an active ongoing independent contractor relationship

for the supplying of governmental services.” Id. It then contrasted that situation

with the facts in the case before it where the independent contractors only had two

prior discrete contracts—one in 1985 for promotion of a seatbelt campaign and one

in 1992 relating to Olympic cycle trials—as well as a vendor-vendee relationship

with one contractor from 1995 through 1997 for sale of promotional materials. Id. at

814, 816. The court emphasized that the contract in question, which the contractors

claimed was unconstitutionally denied, was for an entirely new project concerning

different subject matter that was unrelated to the contractors’ prior business

dealings with the governmental entity. Id. at 816. This distinction was integral to




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the court’s conclusion that, with respect to the denied contract, the case did not

concern “the termination of a pre-existing commercial relationship with the

government” but instead involved a “suit by a bidder or applicant for a new

government contract who cannot rely on such a relationship.” Id. (brackets

omitted) (quoting Umbehr, 518 U.S. at 685). 2

      The facts as pled in the case sub judice are entirely distinguishable from

those in McClintock. Plaintiff avers that it has maintained an active and ongoing

business relationship with the Borough for over a century related to publishing

legal notices and advertisements of public concern. In the preceding ten years

alone, plaintiff alleges that the Borough placed no less than 207 such notices and

advertisements in the Journal. Moreover, these are the exact same type of notices

and advertisements that the Borough will no longer place, purportedly due to

plaintiff’s speech and association.

      There is no formal contract alleged between the parties for these services,

but an actual contract is not required. See generally O’Hare, 518 U.S. at 715-16; see

Prisma Zona Exploratoria de Puerto Rico, Inc. v. Calderon, 162 F. Supp. 2d 1, 7

(D.P.R. 2001). We likewise reject the Borough’s argument that some “future

business” or “purchase” must be guaranteed. After all, in Umbehr, the

independent contractor had no guarantee of future business—the municipalities


      2
         Other circuit courts of appeal have likewise found that similarity—or lack
thereof—in the contracts’ subject matter is an important factor in the “pre-existing
commercial relationship” analysis. See Mangieri v. DCH Healthcare Auth., 304 F.3d
1072, 1076 (11th Cir. 2002) (distinguishing McClintock); Heritage Constructors, Inc.
v. City of Greenwood, 545 F.3d 599, 601-02 (8th Cir. 2008).


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could opt out of the annual contract and the county could choose not to renew it.

Umbehr, 518 U.S. at 671. The crux of the holding in Umbehr was that the

independent contractor’s annual trash-hauling agreement—its preexisting

commercial relationship of six years—could not be ended (by nonrenewal) for

unconstitutional reasons. Id. at 674, 685; see also O’Hare, 518 U.S. at 720-21, 725.

Whether there is a “pre-existing commercial relationship” is, quite necessarily, a

retrospective analysis, not a prospective one.

      Contrary to the Borough’s concerns, our holding today does not expand First

Amendment protections “beyond the Umbehr and O’Hare boundaries.”

McClintock, 169 F.3d at 817. We do not take up the question of whether an

applicant or bidder for a new government contract with no preexisting relationship

can bring a First Amendment claim. 3 We simply find that plaintiff falls into the

Umbehr and O’Hare category of having a “pre-existing” or ongoing commercial

relationship with the Borough. As the O’Hare Court explained, “Government

officials may indeed terminate at-will relationships, unmodified by any legal

constraints, without cause; but it does not follow that this discretion can be

exercised to impose conditions on expressing, or not expressing, specific political

views.” O’Hare, 518 U.S. at 725 (citing Perry v. Sindermann, 408 U.S. 593, 597

(1972)). We thus hold that plaintiff has plausibly alleged that it was providing

“ongoing services”—rather than being an applicant or bidder for a new government


      3
       That task, the Third Circuit has admonished, should be left to the Supreme
Court. McClintock, 169 F.3d at 817; Bartley v. Taylor, 25 F. Supp. 3d 521, 534 n.7
(M.D. Pa. 2014).


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contract—when the Borough purportedly terminated the business relationship in

retaliation for plaintiff’s First Amendment activities. See McClintock, 169 F.3d at

816. Plaintiff therefore has stated a First Amendment claim.

IV.   Conclusion

      We will deny the Borough’s motion (Doc. 12) to dismiss to the extent that we

find that plaintiff has stated a claim, pursuant to 42 U.S.C. § 1983, upon which relief

can be granted. An appropriate order shall issue.



                                        /S/ CHRISTOPHER C. CONNER
                                        Christopher C. Conner, Chief Judge
                                        United States District Court
                                        Middle District of Pennsylvania


Dated:     December 13, 2018
